                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


CHARLES FRANKLIN CONNOR, )
                           )
               Plaintiff,  )
                           )
v.                         )                        C/A NO.:1:17-cv-00127
                           )
NORFOLK SOUTHERN RAILWAY)
COMPLANY, et al.,          )
                           )
               Defendants. )


NOTICE OF DEFENDANT NORFOLK SOUTHERN RAILWAY COMPANY’S
           INTENTION TO FILE DISPOSITIVE MOTIONS

      Pursuant to Local Rule 56.1 of the Local Rules of Civil Practice for the U.S.

District Court for the Middle District of North Carolina, Defendant Norfolk

Southern Railway Company provides notice of its intention to file dispositive

motions in the above-captioned matter.

      This the 3rd day of July, 2018.

                                        /s/ Frank J. Gordon
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                                        Attorney for defendant Norfolk Southern
                                        Railway Company




     Case 1:17-cv-00127-LCB-JLW Document 189 Filed 07/03/18 Page 1 of 2
                           CERTIFICATE OF SERVICE

      I certify that on July 3, 2018, a copy of the foregoing notice was

electronically filed with the Clerk of Court using the CM/ECF system, and

notification of such filing will be sent electronically to counsel of record registered

to receive a Notice of Electronic Filing for this case.

                                        /s/ Frank J. Gordon
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                                           2


     Case 1:17-cv-00127-LCB-JLW Document 189 Filed 07/03/18 Page 2 of 2
